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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA,

No.: 17-cr-20465
Vv.

Hon. Denise Page Hood
D-8 ZAHID SHEIKH,

VIO: 18 U.S.C. § 1349

 

 

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SUPERSEDING INFORMATION 7" 3 =| °
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THE UNITED STATES OF AMERICA CHARGES: Co oS
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General Allegations ©

At all times relevant to this Superseding Information

The Medicare Program
1. The Medicare program was a federal health care program providing

benefits to persons who were 65 years of age or over, or disabled. Medicare was
administered by the Centers for Medicare and Medicaid Services (“CMS”), a federal
agency under the United States Department of Health and Human Services

Individuals who received benefits under Medicare were referred to as Medicare

“beneficiaries.”

2. Medicare was a “health care benefit program,” as defined by Title 18

United States Code, Section 24(b).
   

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3, Medicare has four parts: hospital insurance (Part A), medical insurance
(Part B), Medicare Advantage (Part C), and prescription drug benefits (Part D). Part
A covered physical therapy and skilled nursing services if a facility was certified by
CMS as meeting certain requirements,

4. National Government Services (“NGS”) was the CMS intermediary for
Medicare Part A in the state of Michigan. Wisconsin Physicians Service (“WPS”)
administered the Medicare Part B program for claims arising in the state of
Michigan. CMS contracted with NGS and WPS to receive, adjudicate, process, and
pay claims.

5. TrustSolutions LLC was the Program Safeguard Contractor for
Medicare Part A and Part B in the State of Michigan until April 24, 2012, when it
was replaced by Cahaba Safeguard Administrators LLC as the Zone Program
Integrity Contractor (“ZPIC”). The ZPIC is a contractor that investigates fraud,
waste, and abuse. Cahaba was replaced by AdvancedMed in May 2015.

6. Payments under the Medicare program were often made directly to a
provider of the goods or services, rather than to a Medicare beneficiary. This
payment occurred when the provider submitted the claim to Medicare for payment,
either directly or through a billing company.

7. Upon certification, the medical provider, whether a clinic, physician, or

other health care provider that provided services to Medicare beneficiaries, was able

 
   

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to apply for a Medicare Provider Identification Number (“PIN”) for billing purposes.
In its enrollment application, a provider was required to disclose to Medicare any
person or company who held an ownership interest of 5% or more or who had
’ managing control of the provider. A health care provider who was assigned a
Medicare PIN and provided services to beneficiaries was able to submit claims for
reimbursement to the Medicare contractor/carrier that included the PIN assigned to
that medical provider.

8. By becoming a participating provider in Medicare, enrolled providers
agreed to abide by the policies and procedures, rules, and regulations governing
reimbursement. To receive Medicare funds, enrolled providers, together with their
authorized agents, employees, and contractors, were required to abide by all
provisions of the Social Security Act, the regulations promulgated under the Act,
and applicable policies, procedures, rules, and regulations issued by CMS and its
authorized agents and contractors. Health care providers were given and provided
with online access to Medicare manuals and services bulletins describing proper
billing procedures and billing rules and regulations.

9. Health care providers could only submit claims to Medicare for |
reasonable and medically necessary services that they rendered. Medicare
regulations required health care providers enrolled with Medicare to maintain

complete and accurate patient medical records reflecting the medical assessment and
   

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diagnoses of their patients, as well as records documenting actual treatment of the
patients to whom services were provided and for whom claims for payment were
submitted by the physician. Medicare requires complete and accurate patient
medical records so that Medicare may verify that the services were provided as
described on the claim form. These records were required to be sufficient to permit
Medicare, through WPS and other contractors, to review the appropriateness of
Medicare payments made to the health care provider. Medicare would not pay
claims procured through kickbacks and bribes.

10. Under certain circumstances, Medicare Part B covers the cost of home
visits for evaluation and management services provided to a beneficiary by a
physician in a private residence. Medicare will reimburse for physician home visits
if (1) the visit is medically necessary in lieu of an office visit, and not just out of
convenience; and (2) the medical necessity is documented at every visit. For a
physician to bill for evaluation and management services provided to a beneficiary
in the beneficiary’s home, Medicare requires that the physician actually be present
in the beneficiary’s home.

11. A home health care agency was an entity that provided home health
care services, including but not limited to skilled nursing, physical and occupational

therapy, and speech pathology services to homebound patients.
   

12. Under Medicare Part A and Part B, home health care services were
required to be reasonable and medically necessary to the treatment of the patient’s
illness or injury. Reimbursement for home health care services required that a
physician certified the need for services and established a Plan of Care. Home health
care services that were not certified by a physician or were not provided as
represented were not reasonable and necessary. Medicare Part B covered the costs
of physicians’ services, including physician home visits, physician certification and
recertification of home health care services, and physician supervision of home
health care services. Generally, Medicare Part B covered these costs only if, among
other requirements, they were medically necessary, ordered by a physician, and not
induced by the payment of remuneration.

13. Medicare coverage for home health care services required that the
following qualifying conditions, among others, be met: (a) the Medicare beneficiary
is confined to the home; (b) the beneficiary needs skilled nursing services, physical
therapy, or occupational therapy; (c) the beneficiary is under the care of a qualified
physician who established a written Plan of Care for the beneficiary, signed by the
physician and by a Registered Nurse (“RN”), or by a qualified physical therapist if
only therapy services are required from the home health agency; (d) skilled nursing

services or physical therapy services are provided by, or under the supervision of, a

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licensed RN or physical therapist in accordance with the Plan of Care; and (e) the
services provided are medically necessary.
14. Under Medicare Part B, for a laboratory to properly bill and be paid by
Medicare for laboratory testing, including urine drug testing, the patient must,
among other things, qualify for the testing, including urine drug testing, under
Medicare’s established rules and regulations. The testing also must be rendered
| according to Medicare’s rules and regulations, and certain documents must be
completed before a claim is submitted for reimbursement to Medicare.
15. Fora laboratory to properly bill and be paid by Medicare for urine drug
testing, the urine drug testing must be both reasonable and medically necessary. For
. example, urine drug testing is medically necessary if the patient presents to a
physician with a suspected drug overdose. Regular, routine, or recreational drug
screenings, however, are not reasonable or medically necessary. Further, the
patient’s medical record must include documentation that fully supports the
reasonableness of and medical necessity for the urine drug testing.
16. To-receive reimbursement for a covered service from Medicare, a
provider must submit a claim, either electronically or using a form (e.g., a CMS-
1500 form or UB-92), containing the required information appropriately identifying

the provider, patient, and services rendered, among other things.
  

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The Medical Providers

17. Pondview Personal Physicians (“Pondview”) was a Michigan
corporation doing business at 30236 John R Road, Madison Heights, Michigan
43071. Pondview was enrolled as a participating provider with Medicare and
submitted claims to Medicare.

18. National Laboratories, Inc. (“National Laboratories”) was a Michigan
corporation doing business at 3011 West Grand Blvd., Ste. 310, Detroit, Michigan
and 2100 West Alexis Rd., Ste. B-1, Toledo, Ohio. National Laboratories was
enrolled as a participating provider with Medicare and submitted claims to Medicare.

Defendant
19. Defendant ZAHID SHEIKH, a resident of Oakland County, was a
physician and the owner of Pondview.
COUNT 1
18 U.S.C. § 1349
(Health Care Fraud Conspiracy)
D-8 ZAHID SHEIKH

20. Paragraphs | through 19 of the General Allegations section of this
Superseding Information are re-alleged and incorporated by reference as though
fully set forth herein.

21. Beginning in or around 2012 and continuing through in or around July

2017, in the Eastern District of Michigan, and elsewhere, ZAHID SHEIKH, did

willfully and knowingly combine, conspire, confederate, and agree with others

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known and unknown to the United States Attorney, to commit certain offenses

against the United States, that is: to knowingly and willfully execute a scheme and

artifice to defraud a health care benefit program affecting commerce, as defined in

Title 18, United States Code, Section 24(b), that is, Medicare, and to obtain, by

means of materially false and fraudulent pretenses, representations, and promises,

money and property owned by, and under the custody and control of, said health

a care benefit programs, in connection with the delivery of and payment for health
care benefits, items, and services, in violation of Title 18, United States Code, 1347.

Purpose of the Conspiracy

22. It was a purpose of the conspiracy for ZAHID SHEIKH and his co-
conspirators to unlawfully enrich themselves by, among other things: (a) submitting
or causing the submission of false and fraudulent claims to Medicare for claims
based on kickbacks and bribes; (b) submitting or causing the submission of false and
fraudulent claims to Medicare for services that were (1) medically unnecessary; (i1)
not eligible for Medicare reimbursement; and/or (iii) not provided as represented;
(c) concealing the submission of false and fraudulent claims to Medicare; and (d)
diverting proceeds of the fraud for the personal use and benefit of the defendant and

his co-conspirators in the form of compensation and other remuneration.
   

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Manner and Means
The manner and means by which the defendant and his co-conspirators sought
to accomplish the purpose of the conspiracy included, among others, the following:
23. Inor around June 8, 2005, ZAHID SHEIKH incorporated Pondview.
SHEIKH falsely certified to Medicare on behalf of Pondview that he agreed to abide

by Medicare laws, regulations, and program instructions. These laws, regulations,

and program instructions include, but are not limited to, the Federal anti-kickback

statute.

24. On or about April 24, 2014, Mashiyat Rashid falsely certified to
Medicare on behalf of National Laboratories that he agreed to abide by Medicare
laws, regulations, and program instructions. These laws, regulations, and program
instructions include, but are not limited to, the Federal anti-kickback statute.

25. ZAHID SHEIKH and others falsified, fabricated, altered, and caused
the falsification, fabrication, and alteration of medical records of Pondview
beneficiaries, including but not limited to patient home visit notes, to support claims
that were medically unnecessary, not eligible for Medicare reimbursement, and/or
not provided as represented.

26. ZAHID SHEIKH referred Pondview beneficiaries to co-conspirator
home health providers for medically unnecessary home health care services. In

many instances, these Pondview beneficiaries were not “homebound.”

 
  
 

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27. Mashiyat Rashid and others devised and participated in a scheme to pay
illegal kickbacks and bribes to ZAHID SHEIKH and others in return for referring
urine samples of Pondview beneficiaries to National Laboratories and arranging for
National Laboratories to perform services, including urine drug testing, so that
National Laboratories could bill Medicare for services that were obtained through
illegal kickbacks and bribes, medically unnecessary, not eligible for Medicare
reimbursement, and/or not provided as represented.

28. Mashiyat Rashid, ZAHID SHEIKH, and others disguised the nature
and source of these kickbacks and bribes by designating payments as “marketing
agreements,” or entering into sham contracts or employment relationships. ZAHID
SHEIKH, and others also disguised the nature and source of these kickbacks and
bribes by having the payments made to R.K. Internationals, a company owned or
controlled by a personal associate of ZAHID SHEIKH’s.

29. During the course of the conspiracy charged in Count 1 of the
Superseding Information, ZAHID SHEIKH submitted or caused the submission of

false and fraudulent claims to Medicare in an approximate amount of $6.8 million.

In violation of Title 18, United States Code, Section 1349.

FORFEITURE ALLEGATIONS
(18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461;
18 U.S.C. § 982(a)(7))

30. The above allegations contained in this Superseding Information are

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hereby incorporated by reference as if fully set forth herein for the purpose of
alleging forfeiture pursuant to the provisions of Title 18, United States Code,
Sections 981(a)(1)(C) and 982; and Title 28, United States Code, Section 2461.

31. Pursuant to Title 18, United States Code, Section 981(a)(1)(C) together
with Title 28, United States Code, Section 2461, as a result of the foregoing
violation, as charged in Count 1 of this Superseding Information, the defendant,
ZAHID SHEIKH, shall forfeit to the United States any property, real or personal,
which constitutes or is derived from proceeds traceable to the commission of the
offense.

32. Pursuant to Title 18, United States Code, Section 982(a)(7), as a result
of the foregoing violations, as charged in Count 1 of this Superseding Information,
the defendant, ZAHID SHEIKH, shall forfeit to the United States any property, real
or personal, that constitutes or is derived, directly or indirectly, from gross proceeds
traceable to the commission of the offense.

33. Such property includes, but is not limited to, a forfeiture money
judgment, in an amount to be proved in this matter, representing the total amount of
proceeds and/or gross proceeds obtained as a result of Defendant’s violations as
charged in Count 1 of this Superseding Information.

34. Pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b), the defendant, ZAHID

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SHEIKH, shall forfeit substitute property, up to the value of the properties described
above or identified in any subsequent forfeiture bills of particular, if, by any act or
omission of the defendant, the property cannot be located upon the exercise of due
diligence; has been transferred or sold to, or deposited with, a third party; has been
placed beyond the jurisdiction of the Court; has been substantially diminished in
value; or has been commingled with other property that cannot be subdivided

without difficulty.

DANIEL L. LEMISCH

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Dated: December 28, 2017

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INA
United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

17-cr-20465
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

 

 

 

Companion Case Number:

   

 

 

 

 

 

 

 

This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
Llyes No Ausa’sinitials: UPD
Case Title: USA v. Zahid Sheikh =
County where offense occurred : Oakland County, Wayne County = = _ a
oO OG
Check One:  ([XlFelony L]Misdemeanor - Cetty
____Indictment/____ Information --- no prior complaint. - OP -
___Indictment/____Information -- based upon prior complaint [Case as @

____Indictment/__v_| -¥ Information -— based upon LCrR 57.10 (d) [Complete Supersedingection below]:

 

 

Superseding to Case No: 17-cr-20465 Judge: Hon. Denise Page Hood

[_]Corrects errors; no additional charges or defendants. .
[_]Involves, for plea purposes, different charges or adds counts.
[x] Embraces same subject matter but adds the additional defendants or charges below:

Defendant name

Charges Prior Complaint (if applicable)
Zahid Sheikh

18 U.S.C. § 1349

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

December 28 2017 Aff ph bal tn

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Attorney Bar #: CA 250785

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same

or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
aven though one of them may have already been terminated.

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